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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------------ x
                                                                    :
 In re:                                                             :   Chapter 11
                                                                    :
 ADVANCE WATCH COMPANY LTD., et al.,                                :   Case No. 15-12690 (MG)
                                                                    :
                            Debtors.   1                            :   Jointly Administered
                                                                    :
 ------------------------------------------------------------------ x   Ref. Docket No. 428

                                           AFFIDAVIT OF SERVICE

 STATE OF NEW YORK  )
                    ) ss.:
 COUNTY OF NEW YORK )

 FORREST KUFFER, being duly sworn, deposes and says:

 1. I am employed as a Noticing Coordinator by Epiq Bankruptcy Solutions, LLC, located at 777
    Third Avenue, New York, NY 10017. I am over the age of eighteen years and am not a party
    to the above-captioned action.

 2. On June 22, 2018, I caused to be served the “Notice of Motion of Creditor Trustee for Entry
    of an Order Extending the Deadline to File Objections to Unsecured Proofs of Claim,” dated
    June 22, 2018, to which was attached the “Motion of Creditor Trustee for Entry of an Order
    Extending the Deadline to File Objections to Unsecured Proofs of Claim,” dated June 22,
    2018 [Docket No. 428], by causing true and correct copies to be:

      a. enclosed securely in separate postage pre-paid envelopes and delivered via first class
         mail to those parties listed on the annexed Exhibit A, and

      b. delivered via electronic mail to those parties listed on the annexed Exhibit B.




 1 The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are: Advance Watch Company, Ltd. (8061); Binda USA Holdings, Inc. (8916); Sunburst Products, Inc.
 (5972), and GWG International, Ltd. (2468).


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 3. All envelopes utilized in the service of the foregoing contained the following legend:
    “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
    ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”

                                                                     /s/ Forrest Kuffer
                                                                     Forrest Kuffer
  Sworn to before me this
  25th day of June, 2018
  /s/ Diane M. Streany
  Notary Public, State of New York
  No. 01ST5003825
  Qualified in the County of Westchester
  Commission Expires November 2, 2018




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                                 EXHIBIT A 
                                          ALC INTERNATIONAL, INC,
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                                                  Service List 06/27/18 11:04:10        Main Document
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Claim Name                            Address Information
INTERNAL REVENUE SERVICE              CENTRALIZED INSOLVENCY OPERATIONS P.O. BOX 7346 PHILADELPHIA PA 19101-7346
OFFICE OF THE UNITED STATES TRUSTEE   UNITED STATES TRUSTEE'S OFFICE REGION 2 U.S. FEDERAL OFFICE BUILDING 201
                                      VARICK STREET, SUITE 1006 ATTN: BRIAN S. MASUMOTO NEW YORK NY 10014
SCHLAM STONE & DOLAN LLP              (COUNSEL TO STINGMARS LIMITED (HONG KONG)) ATTN: BENNETTE D. KRAMER & RICHARD
                                      H. DOLAN 26 BROADWAY NEW YORK NY 10004




                               Total Creditor count 3




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                                 EXHIBIT B 
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                 Name                                       Description                               Email
Wells Fargo Bank National Association        Administrative Agent Under the Debtors’     robert.strack@wellsfargo.com
                                             First Lien Credit Facility
Wells Fargo Bank National Association        Counsel to the Administrative Agent     dfiorillo@otterbourg.com
Binda Italia Srl                             Affiliate                               sbinda@bindagroup.com
U.S. Securities and Exchange Commission      U.S. Securities and Exchange Commission ny robankruptcy @sec.gov
Kenneth Cole                                 Counsel to Kenneth Cole                 matthew.olsen@kattenlaw.com
Venable LLP                                  Counsel to Debtors                      ajcurrie@Venable.com
Venable LLP                                  Counsel to Debtors                      rkapoor@Venable.com
Baker & Hostetler LLP                                                                sweiser@bakerlaw.com
Bryan Cave LLP , Attn Lloyd A. P alans       Counsel to Dillard's Inc.               lapalans@bryancave.com
Zelmanovitz & Associates P LLC, Attn         Counsel to NFL P roperties LLC
Menachem O. Zelmanovitz                                                              mendy@zelmlaw.com
Golan & Christie, LLP , Attn Barbara L.      Counsel to Staffing Network, LLC        blyong@golanchristie.com
Katten Muchin Rosenman LLP , Attn            Counsel to Kenneth Cole
Matthew W. Olsen                                                                     matthew.olsen@kattenlaw.com
                                                                                     robert.hirsh@arentfox.com;
                                             Counsel to Committee of Unsecured
Arent Fox, Attn: Robert M. Hirsh, George                                             george.angelich@arentfox.com;
                                             Creditors
P . Angelich & Jordana L. Renert                                                     jordana.renert@arentfox.com
                                                                                     Rwarshauer@imperialcapital.c
                                                                                         om;
Imperial Capital LLC                                                                     Jbyrne@imperialcapital.com;
Dunnington Bartholow & Miller LLP ,          Counsel to P ublicis, Inc.                  slewis@dunnington.com;
Attn: Steven E. Lewis & Samuel A.                                                        sblaustein@dunnington.com
Blank Rome LLP , Attn: Michael Z.
Brownstein, Esq.                                                                         mbrownstein@blankrome.com;
Stanley B. Tarr, Esq.                        Counsel to ZY Holdings LLC                  tarr@blankrome.com
Meister Seelig & Fein LLP                    Counsel to 1407 Broadway Operator,          cjm@msf-law.com
Simon P roperty Group, Inc., Attn: Ronald
M. Tucker, Esq.                                                                          rtucker@simon.com
Riemer & Braunstein LLP , Attn: Steven E.
Fox. Esq.                                    Counsel to Binda SP A S.R.L.                sfox@riemerlaw.com
Riemer & Braunstein LLP , Attn: Alan B.
Braunstein. Esq.                             Counsel to Binda SP A S.R.L.                abraunstein@riemerlaw.com
Province                                     P eter Kravitz                              pkravitz@provincefirm.com
Province                                     Amanda Demby                                ademby @provincefirm.com
Ask LLP                                      Edward E. Neiger                            eneiger@askllp.com
Ask LLP                                      Kendra K. Bader Esq                         kbader@askllp.com
Ask LLP                                                                                  lmiskowiec@askllp.com
NYS Dept of Taxation and Finance             Jeffrey K. Cy mbler                         Jeffrey .Cy mbler@tax.ny .gov
Schulte Roth & Zabel LLP                     Counsel to Emerald Capital Advisors Corp.   michael.cook@srz.com
Rosenberg & Estis, P .C., Attn: Howard W.    Counsel to SRI Eleven 1407 Broadway         hkingsley@rosenbergestis.co
Kingsley, Esq.                               Operator LLC                                m
